Case 1:18-cv-01096-GJQ-RSK ECF No. 13 filed 06/10/20 PageID.1060 Page 1 of 1




                     IN THE UNITED STATES DISTRICT COURT
                          WESTERN DISTRICT OF MICHIGAN

CHRISTOPHER CAMPOS, 868973

            Petitioner,

-v.-                                         Case No. 1:18-cv-1096

GREG SKIPPER, Warden,                        HON. GORDON J. QUIST
Michigan Reformatory,                        MAG. RAY S. KENT

         Respondent.
_____________________________________/


                          MOTION TO WITHDRAW AS COUNSEL


            James S. Lawrence, Attorney at Law, hereby moves to withdraw as counsel

from this case, as required by order of the Attorney Discipline Board, effective June

11, 2020, Case No. 18-130-GA, suspending him from the practice of law for a period of

100 days.



/s/ James S. Lawrence
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JAMES STERLING LAWRENCE (P33664)
235 S. Gratiot Ave.
Mt. Clemens, MI 48043
(586) 222-5459
ynot@earthlink.net

Date: 6-10-2020
